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                          UNITED STATES BANKRUPTCY COURT
                           FOR THE DISTRICT OF COLORADO

 In re:                                      )
 Sun River Energy, Inc.                      )
               Debtor.                       )          Case No.: 15-15610-MER
                                             )          Chapter: 7
                                             )
                                             )
                                             )


             NOTICE OF RULE 2004 EXAMINATION OF IVA L. BALLARD


         PLEASE TAKE NOTICE that Allen & Vellone, P.C., attorneys for Nova Leasing, LLC
 in the above-captioned case, will conduct a Rule 2004, Fed.R.Bankr.P., examination of Iva L.
 Ballard pursuant to this Court’s Order dated October 9, 2015.

        The examination will be conducted on Tuesday, December 15, 2015 at 10:00 a.m. at
 Alliance Reporting Solutions, 2700 N. Central Avenue, Suite 350, Phoenix, Arizona and
 continue from day to day until completed.

        The examination shall be conducted before an officer appointed or designated under
 F.R.C.P. 28 to administer oaths and take testimony, and the testimony shall be record by sound,
 sound-and-visual or stenographic means.

 Dated this 18th day of November, 2015.

                                                 Respectfully submitted,



                                                 /S/ Nicole M. Detweiler
                                                 Jordan Factor, # 38126
                                                 Nicole Detweiler, IL Bar #6308875
                                                 1600 Stout Street, Ste. 1100
                                                 Denver, Colorado 80202
                                                 (303) 534-4499
                                                 jfactor@allen-vellone.com
                                                 ndetweiler@allen-vellone.com

                                                 Attorneys for Nova Leasing, LLC.
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                                 CERTIFICATE OF SERVICE

      I hereby certify that on this 18th day of November, 2015, I caused the foregoing
 NOTICE OF RULE 2004 EXAMINATION OF IVA L. BALLARD, to be serviced via
 CM/ECF to the following:


 David Wadsworth                                 M. Gabriel McFarland, LLC
 David Warner                                    Cyd Hunt
 1660 Lincoln St.                                Evans & McFarland, LLC
 Ste. 2200                                       910 13th St., Suite 200
 Denver, CO 80264                                Golden, CO 80401

 James E. Pennington                             Christian C. Onsager
 900 Jackson Street, Suite 440                   Onsager Guyerson Fletcher Johnson, LLC
 Dallas, Texas 75202                             1801 Broadway, Suite 900
                                                 Denver, CO 80202
 Donal R. Schmidt, Jr.
 5646 Milton St., Suite 130                      Torben Welch
 Dallas, Texas 75206                             1430 Wynkoop St., Ste. 400
                                                 Denver, CO 80202
 Tobin D. Kern
 Volant Law LLC                                  Dave Giddens
 333 W. Hampden Ave., Suite 1000                 Law Office of George Dave Giddens
 Englewood, CO 80110                             10400 Academy NE, Suite 350
                                                 Albuquerque, NM 87111

 John P Dillman
 P.O. Box 3064
 Houston, Tx 77253-3064


                                            /s/ Terri M. Novoa
                                            Allen & Vellone, P.C.
